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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


ETHICON ENDO-SURGERY, INC. and ETHICON                 )
ENDO-SURGERY, LLC,                                     )
                                                       )
                                                       )
       Plaintiffs and Counterclaim-Defendants,         )   Civil Action No. 1:16-cv-12556-
                                                       )   LTS
       v.                                              )
                                                       )
COVIDIEN LP, COVIDIEN SALES LLC, and                   )
COVIDIEN AG,                                           )
                                                       )
       Defendants and Counterclaim-Plaintiffs.         )
                                                       )
                                                       )


                           FINAL JUDGMENT IN A CIVIL CASE

       For the reasons stated in the Court's April 24, 2020 Findings of Fact, Rulings of Law, and

Order for Judgment (ECF No. 274), January 14, 2019 Order Granting Partial Summary Judgment

(ECF No. 177), and June 9, 2020 Order on Motion for Additional and Amended Findings of Fact

and Rulings of Law (ECF No. 279), IT IS HEREBY ORDERED AND ADJUDGED that:

       1. Judgment on Ethicon Endo-Surgery, Inc. and Ethicon Endo-Surgery, LLC's

            (collectively, "Ethicon") claims for a declaratory judgment of non-infringement, as

            well as Covidien LP, Covidien Sales LLC, and Covidien AG's (collectively,

            "Covidien") claims against Ethicon for infringement, is entered against Covidien and

            in favor of Ethicon as follows:

               a. Ethicon's ENSEAL® X1 Large Jaw Tissue Sealer ("ENSEAL X1") does not

                   infringe claims 1, 4, 6, 7, 10, or 11 of U.S. Patent No. 9,241,759 ("the '759

                   patent").
   Case
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          b. ENSEAL X1 does not infringe claims 1, 4, 7, 8, 16, or 19 of U.S. Patent No.

              8,323,310 ("the '310 patent").

          c. ENSEAL X1 does not infringe claims 1-4, 7, 9-10, 12, and 14 of U.S. Patent

              No. 8,241,284.

   2. Judgment on Ethicon's claims against Covidien for a declaratory judgment of

      invalidity is entered against Ethicon and in favor of Covidien as follows:

          a. Claims 1, 4, 6, 7, 10, and 11 of the '759 patent are not invalid under 35 U.S.C.

              §§ 102/103 based on the cited prior art.

          b. Claims 1, 4, 7, 8, 16, and 19 of the '310 patent are not invalid under 35 U.S.C.

              § 112 and/or under 35 U.S.C. §§ 102/103 based on the cited prior art.

   3. All other claims, counterclaims, defenses and affirmative defenses are hereby

      dismissed without prejudice.

   4. Ethicon is awarded its costs in this action to the extent permitted by law and in an

      amount to be determined upon Ethicon's application for costs; and

   5. Each party shall bear its own attorneys' fees.



             19 2020
Dated: June ___,                                  /s/ Leo T. Sorokin
                                                ______________________________
                                                Leo T. Sorokin
                                                United States District Judge


                                                   /s/ Mariliz Montes
                                                 ______________________________
                                                 (By) Deputy Clerk
